                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
               v.                                   )      CASE NO. DNCW3:03CR68-01
                                                    )      (Financial Litigation Unit)
DAVID SIMONINI,                                     )
                                                    )
and                                                 )
                                                    )
MARKET AMERICA, INC.,                               )
              Garnishee.                            )

                        WRIT OF CONTINUING GARNISHMENT

GREETINGS TO:         Market America, Inc.
                      1302 Pleasant Ridge Road
                      Greensboro, NC 27409
                      ATTN: Marc Ashley

        An Application for a Writ of Garnishment against the property of David Simonini,

Defendant/debtor, has been filed with this Court (Docket No. 109). A judgment has been entered

against the Defendant/debtor (Docket No. 78). The United States Clerk of Court current balance

is $4,513,975.31, computed through September 16, 2011, and is due and owing.

        You, as Garnishee, are required by law to answer in writing, under oath, within ten (10)

days of service of this Writ, whether or not you have in your custody, control or possession, any

property or funds owned by the Defendant/debtor, including non-exempt, disposable earnings.

        You must withhold and retain any property in which the Defendant/debtor has a

substantial non-exempt interest and for which you are or may become indebted to the

Defendant/debtor pending further order of the Court. This means that you should withhold 25% of

the Defendant/debtor's earnings which remain after all deductions required by law have been

withheld and 100% of all 1099 payments. See 15 U.S.C. § 1673(a).




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           Please state whether or not you anticipate paying the debtor any future payments and

whether such payments are weekly, bi-weekly, monthly, annually or bi-annually.

       You must file the original written Answer to this Writ within ten (10) days of your receipt

of this Writ with the following office:

                            Clerk of the United States District Court
                                      401 West Trade Street
                                       Charlotte, NC 28202

       Additionally, you are required by law to serve a copy of the Answer upon the

Defendant/debtor at his last known address:

                                            David Simonini
                                           XXXXXXXXXX
                                           XXXXXXXXXX
                                          Charlotte, NC 28226

       You are also required to serve a copy of the Answer upon the Plaintiff at the following

address:

                        Michael E. Savage, Assistant United States Attorney
                                  United States Attorney's Office
                                     Financial Litigation Unit
                                227 West Trade Street, Suite 1650
                                       Charlotte, NC 28202

       Under the law, there is property which is exempt from this Writ of Garnishment. Property

which is exempt and which is not subject to this Order may be listed on the attached Claim for

Exemption form.

       Pursuant to 15 U.S.C. § 1674, you, the Garnishee, are prohibited from discharging the

Defendant/debtor from employment by reason of the fact that his earnings have been subject to

garnishment for any one indebtedness.

       Pursuant to 28 U.S.C. § 3205(c)(6), if you fail to answer this Writ or withhold property

or funds in accordance with this Writ, the United States of America may petition the Court for an




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order requiring you to appear before the Court to answer the Writ and to withhold property before

the appearance date. If you fail to appear or do appear and fail to show good cause why you failed

to comply with this Writ, the Court shall enter a judgment against you for the value of the

Defendant/debtor's non-exempt interest in such property. The Court may award a reasonable

attorney's fee to the United States and against you if the Writ is not answered within the time

specified. It is unlawful to pay or deliver to the Defendant/debtor any item attached by this Writ.

       SO ORDERED.

                                                 Signed: September 21, 2011




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                            CLAIM FOR EXEMPTION FORM

           MAJOR EXEMPTIONS UNDER FEDERAL LAW (18 U.S.C. §3613)


_____ 1.     Wearing apparel and school books. -- Such items of wearing apparel and such school
             brooks as are necessary for the debtor or for members of his family.

_____ 2.     Fuel, provisions, furniture, and personal effects. -- So much of the fuel, provisions,
             furniture, and personal effects in the Debtor’s household, and of the arms for
             personal use, livestock, and poultry of the debtor, as does not exceed $6,250 in value.

_____ 3.     Books and tools of a trade, business, or profession. -- So many of the books, and
             tools necessary for the trade, business, or profession of the debtor as do not exceed
             in the aggregate $3,125 in value.

_____ 4.     Unemployment benefits. -- Any amount payable to an individual with respect to his
             unemployment (including any portion thereof payable with respect to dependents)
             under an unemployment compensation law of the United States, of any State, or of
             the District of Columbia or of the Commonwealth of Puerto Rico.

_____ 5.     Undelivered mail. -- Mail, addressed to any person, which has not been delivered to
             the addressee.

_____ 6.     Certain annuity and pension payments. -- Annuity or pension payments under the
             Railroad Retirement Act, benefits under the Railroad Unemployment Insurance Act,
             special pension payments received by a person whose name has been entered on the
             Army, Navy, Air Force, and Coast Guard Medal of Honor roll(38 U.S.C. 1562), and
             annuities based on retired or retainer pay under Chapter 73 of Title 10 of United
             States Code.

_____ 7.     Workmen’s Compensation. -- Any amount payable with respect to compensation
             (including any portion thereof payable with respect to dependents) under a
             workmen’s compensation law of the United States, any State, the District of
             Columbia, or the Commonwealth of Puerto Rico.

_____ 8.     Judgments for support of minor children. -- If the debtor is required by judgment of
             a court of competent jurisdiction, entered prior to the date of levy, to contribute to
             the support of his minor children, so much of his salary, wages, or other income as
             is necessary to comply with such judgment.

_____ 9.     Certain service-connected disability payments. -- Any amount payable to an
             individual as a service-connected (within the meaning of section 101(16) of Title 38,
             United States Code) disability benefit under -- (A) subchapter II, III, IV, V, or VI of
             Chapter 11 of such Title 38 or (B) Chapter 13, 21, 23, 31, 32, 34, 35, 37 or 39 of
             such Title 38.

____ 10.     Assistance under Job Training Partnership Act.

             -- Any amount payable to a participant under the Job Training Partnership Act (29
             U.S.C. 1501 et seq.) From funds appropriated pursuant to such Act.



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